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                     EXHIBIT A
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               UNCLASSIFIED                           Document
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REQ REF        REQ NAME             SUBJECT                                                                                  RECEIVE DATE      CASE STATUE
F-2014-00050                        Immigration visa records filed on behalf of                                              01/02/2014        CLOSED


F-2014-00051                        Immigration records regarding                                                     B6     01/02/2014        CLOSED


F-2014-00052   Francisco J Duran    Deportation records regarding                                                            01/02/2014        CLOSED


F-2014-00053   Stephen Fee          Any and all monthly transaction reports from the Syrian Support Group to the Office of   01/02/2014        CLOSED
                                    Terrorism Finance and Economic Sanctions Policy.
F-2014-00054                        Any and all immigration records regardinc                                                01/02/2014        OPEN


F-2014-00056   Sean A Dunagan       Records regarding                                                                        01/02/2014        CLOSED


F-2014-00057                        Immigration records regarding                                                            01/02/2014        CLOSED


F-2014-00058                        1-130 visa petition filed by                        on behalf of                         01/02/2014        OPEN


F-2014-00059                        1-130 visa petition filed by                                                             01/02/2014        CLOSED


F-2014-00060                        1-130 visa petition records filed on behalf of                                           01/02/2014        CLOSED


F-2014-00061                        1-130 petition filed by                on behalf of                                      01/02/2014        OPEN


F-2014-00062                        Immigration records including visa denial regarding                                      01/02/2014        CLOSED


F-2014-00063   Juan Velazco Solis   Immigration visa records filed by or on behalf of                                        01/02/2014        CLOSED


F-2014-00064                        Immigration and US-Visit records regarding                                               01/02/2014        CLOSED


F-2014-00065                        H2A visa records regarding                                                               01/02/2014        OPEN
                                                                                                 RELEASE IN PART B6
F-2014-00066                        H2A visa records regarding                                                               01/02/2014        OPEN


                                                                                                   REVIEW AUTHORITY: Barbara Nielsen, Senior
                                                                                                   Reviewer
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               UNCLASSIFIED                            Document
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REQ REF        REQ NAME           SUBJECT                                                                                    RECEIVE DATE CASE STATUE
                                                                                                                B6
F-2014-20341                      1-140 visa petition regarding                                                              11/12/2014   CLOSED

F-2014-20343                      1-130 Visa Petition filed by                                                               11/12/2014   CLOSED

F-2014-20344                      1-130 immigrant visa petitions filed by                                                    11/12/2014   CLOSED

F-2014-20346                      1-130 immigrant visa •etition records and a                   by                           11/12/2014   OPEN

F-2014-20348   Scott Shane        Any and all correspondence/records reference visits by American personnel regarding        11/13/2014   OPEN
                                  Anwar, al-Aulaqi, Awlaki or Awlaqi, prisoned in Yemen to include FBI agents or others
                                  and a killing in US drone strike
F-2014-20355                      Any documentation that either USCIS or an Immigration Judge made a formal finding of       11/12/2014   OPEN
                                  a violation of                           immigration status (F-1 Duration of Stay visa),

F-2014-20356                      Non-Immigrant Visa Application records for                                                 11/12/2014   OPEN

F-2014-20357   Barry Levett       Copy of Microsoft Outlook contacts created by deceased DOS employee Todd A. Levett. 11/14/2014          OPEN

F-2014-20359                      B2 visa issued to                                                                          11/12/2014   OPEN

F-2014-20361                     Any and all immigrant visa records in the file of                                           11/13/2014   CLOSED

F-2014-20362                     V1 visa approval related to 1-130 petition regarding                                        11/13/2014   OPEN

F-2014-20368   Apostolos E        Correspondence/records regarding "Cyprus" reports or referencing why such reports          11/13/2014   OPEN
               Zoupaniotis        should / have not be submitted
F-2014-20371                     Immigrant visa and any 1-130 petition records regarding                                     11/13/2014   CLOSED

F-2014-20380                     Letter to be written from the U.S. government to confirm to the Chinese goverment that      11/12/2014   CLOSED
                                                       s the same person as
F-2014-20392                     1-130 visa petition filed by                                                                11/13/2014   CLOSED

F-2014-20401   Alexander Hood    All correspondence/records regarding "Au Pair" J1 Visa program; wages, hours                11/14/2014   OPEN
                                 mandated, stipends and predecessor regulations.
F-2014-20402   Joyce E Battle    NSA #20141217DOS369 - regarding Mahmudiyah killings in Iraq concerned with human 11/13/2014              OPEN
                                 rights and/or democracy.




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